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     The status of Prince Andrew and Prince Harry as counsellors of state is under scrutiny


    By Sean Coughlan
    Royal correspondent



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    Princess Royal and Earl of Wessex to be added.

    Peers have debated plans for two extra "counsellors of state".

    But a Labour peer said Prince Andrew and Prince Harry, as non-working royals,
    should be taken oﬀ the list.

    Lord Berkeley said the question of who was eligible to act for the King needed
    greater "transparency".

    Peers on Monday were debating the Counsellors of State Bill, which would
    widen the pool of royals who could carry out oﬃcial duties if the King was
    overseas or ill.

    Lord True, the Lord Privy Seal, said the proposal was a "practical solution"
    necessary for the "machinery of government" - and said that the Royal                   Features
    Household had conﬁrmed that in practice only working royals would be called
    upon to act as counsellors.

    This legislation would add two more, rather than remove any of the current
    ﬁve stand-ins - Camilla, the Queen Consort, the Prince of Wales, Prince Harry,
    Prince Andrew and his daughter Princess Beatrice.

       Princess Anne and Prince Edward to be stand-ins for King

       More stand ins likely for King Charles
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    Lord Berkeley supported the addition of Princess Anne and Prince Edward but              made history in top court
    he put forward an amendment that would exclude Prince Andrew and Prince
    Harry and any other non-working royals.

    Counsellors of state should not include anyone who had not "undertaken royal
    duties on a regular basis" for the preceding two years, he proposed.

    Prince Andrew withdrew from royal duties in the wake of his association with
    US sex oﬀender Jeﬀrey Epstein.

    Prince Harry, who lives with his family in the United States, has stepped back
    from being a "working royal".
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    Conservative peer Lord Balfe also argued Prince Harry's status as a counsellor
    needed to be more clearly resolved.

    The legislation, launched in response to a request from the King, is being fast-
    tracked through Parliament.

    It is expected there will be overseas trips next year for the King, Queen
    Consort, Prince William and Catherine, Princess of Wales - and without a
    change, this could mean a lack of available stand-ins to act on behalf of the            Five female MCs who changed
    monarch.                                                                                 hip-hop

    Labour peer Viscount Stansgate welcomed the increase in counsellors but
    described the addition of two speciﬁc royals as a "quick ﬁx" and suggested
    that a longer-term view was needed for deciding who should be appointed.

    Crossbencher Lord Janvrin, who had been a private secretary to the late
    Queen Elizabeth II, used a football analogy to say the two extra substitutes for
    the monarch would "give much needed strength and depth to the bench".

    But Baroness Jones, of the Green Party, said the whole issue was
    "inconsequential to the lives of people who are struggling".
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    Counsellors of state can carry out constitutional duties such as:

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    There is already a legal requirement for a counsellor to be "domiciled in some
    part of the United Kingdom" - but this is being interpreted as including a
    "domicile of origin", which would allow Prince Harry to continue.

    An 18th Century law still prevents a Catholic from being a counsellor - and the           'I feel hopeless': Living in a
    Cabinet Oﬃce would not comment on how this could be compatible with                       country on the brink
    other equality legislation.

    The legislation will move on to its next stages later this week - with the
    government not expected to accept the proposal to exclude Prince Andrew
    and Prince Harry.



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         Harry and Andrew to be excluded from Royal
         Family role as new law receives royal assent
         Counsellors of State are members of the Royal Family who can deputise for the monarch and carry out constitutional duties
         on his behalf in case of absence or illness.
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      King Charles striving for 'unity' in royal family says Myers




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     The Counsellors of State Bill received royal assent on December 6. This means Prince Edward (/latest/prince-edward) and
     Princess Anne (/latest/princess-anne) are now among the members of the Royal Family (/latest/royal-family) who can carry out
     certain constitutional duties on behalf of King Charles III (/latest/king-charles) whenever he is unavailable.


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     They are joining in this role Queen Camilla (/latest/queen-camilla), Prince William, Prince Harry (/latest/prince-harry), Prince
     Andrew (/latest/prince-andrew) and Princess Beatrice.

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     The Act was speedily discussed by the Lords and the Commons over the past few weeks.

     With a larger number of people available who can stand in for the monarch, Charles can rest assured he will always have at
     hand at least two senior royals who can step in for him.

     Before the approval of this Act, the role of Counselors of State was regulated by the Regency Acts 1937 and 1953.

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     Prince Harry and Prince Andrew are among the seven Counsellors of State the King can count on (Image: GETTY)




       Harry and Meghan asked how they feel about 'destroying the Royal Family' in tense video

       Harry and Meghan were asked how they feel about "destroying the Royal Family", just hours before the release of the first
       part of their explosive docu-series.

       In a video posted on Twitter by user @hrrysgreysuit, the moment is captured as the couple stepped out of the car and made
       their way into the event.

       See the video HERE. (/news/royal/1706305/prince-harry-meghan-markle-new-york-royal-family-video-latest)
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     Prince Edward and Princess Anne have recently become Counsellors of State (Image: GETTY)




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     These stated the monarch's spouse and the next four people in the line of succession - no matter their status within the Firm -
     aged    over the age of 21 held the title of Counsellor and could be chosen138438142054
      138438142054                                                                 to deputise for the sovereign.

     The new Act doesn't exclude the Dukes of York and Sussex and Princess Beatrice - who are all non-working members of the
     Royal Family - from the role.
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                                                           said the Royal Household had confirmed that only working members of the
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     Firm would be called upon to act in lieu of the King if the Earl of Wessex and the Princess Royal were added to the pool of
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     During that same reading, Labour peer Lord Berkeley brought forward an amendment that would have taken off the list of
     Counsellors the Dukes of York and Sussex if approved.

     READ MORE: Meghan faces growing US backlash as Netflix PR strategy backfires (/news/royal/1705823/meghan-
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     Prince Andrew, Prince Harry and Prince William have been Counsellors of State for several years (Image: GETTY)




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     The peer said the question of who was eligible to act for the King needed greater "transparency".

     Labour peer Viscount Stansgate welcomed the increase in Counsellors.

     However, he also described the addition of two specific royals as a "quick fix" and suggested a longer-term view was needed
     for deciding who should be appointed.

     Among the duties Counsellors can be drafted to carry out are the signing of official documents, holding Privy Council meetings
     and receiving the credentials of new ambassadors to the UK.

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     King Charles attended the State Opening of Parliament on behalf of the Queen in May (Image: GETTY)

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     At least two Counsellors of State at the time are needed to carry out duties on behalf of the King.



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     In May, the late Queen Elizabeth II issued Letters Patent to draft Prince William and King Charles, then the Prince of Wales,
     and have them attend the State Opening of Parliament on her behalf as she was suffering from mobility issues.

     As King Charles still carries out visits abroad, he will likely need to rely quite regularly on stands-in.

     The late Queen stopped undertaking foreign visits in November 2015, when she paid one last visit to Malta.

       King Charles (/latest/king-charles)    Prince Harry (/latest/prince-harry)   Prince Andrew (/latest/prince-andrew)

       Princess Beatrice (/latest/princess-beatrice)    Princess Anne (/latest/princess-anne)      Prince Edward (/latest/prince-edward)




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  NEWS

  Prince Harry's Remaining Royal Role Under Fire as
  Government Reconsiders
  BY JAMES CRAWFORD-SMITH ON 10/26/22 AT 7:36 AM EDT




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  P          rince Harry's most signi cant remaining royal role was challenged in the House of Lords this week, with the
             possibility of his stepping in to deputize for his father King Charles III during periods of absence or illness being
             questioned following his move to the U.S. with Meghan Markle.

  The prince stepped down as a working member of the royal family in 2020 and in doing so was stripped of his o cial roles
  and military appointments. This did not extend to his legal eligibility to act as a Counsellor of State or as regent should the
  monarch be absent from Britain or incapacitated due to illness.




  These entitlements are protected by law under The Regency Act of 1937 which states that the rst ve members of the blood
  royal family in the line of succession over the age of 21 (in addition to the monarch's consort) are Counsellors of State and
  candidates to act as regent.




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     Prince Harry photographed attending the state funeral of Queen Elizabeth II, September 19, 2022. And (inset) the Imperial State Crown.
     The prince's eligibility to be called as a Counsellor of State was recently questioned in the House of Lords.
     JAMES MANNING- WPA POOL/GETTY IMAGES/DANIEL LEAL/POOL/AFP VIA GETTY IMAGES


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  This piece of legislation came under question in the House of Lords on Monday where Stephen Benn, Viscount Stansgate,
  asked whether the government was "happy to continue with a situation where the counsels of state and regency powers may
  be exercised by the Duke of York or the Duke of Sussex, one of whom has left public life and the other of whom has left the
  country?"




  He then asked whether or not it was time for the government to approach the king to ask whether now is the right time to
  make an amendment to this law.

  In response to his question, Lord Nicholas True, the leader of the House of Lords, did not rule out the possibility of such a
  change.

  He said that the government would "always consider what arrangements are needed to ensure resilience in our constitutional
  arrangements," and added that "in the past, we have seen that the point of accession has proved a useful opportunity to
  consider the arrangements in place."

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  Counsellors of State can ful l duties such as signing o cial documents, conducting royal ceremonies, and receiving o cial
  guests on behalf of the monarch when called upon.




  Currently, the six members of the royal family who can act as counsellors are Queen Camilla, Prince William, Prince Harry,
  Prince Andrew, and Princess Beatrice.

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  An issue lies in the fact that only two of these are "working royals" and the times when counsellors are expected to act—such
  as when King Charles is travelling abroad—Camilla will likely be accompanying him.




     King Charles III photographed with Queen Camilla and the Prince and Princess of Wales at Buckingham Palace, September 18, 2022.
     Camilla and William are eligible to deputize for the king as Counsellors of State.
     CHRIS JACKSON/GETTY IMAGES




  Under the Regency Act, two counsellors are needed to act together to perform each duty, as it currently stands this would
  leave Prince William to act either with Harry (who would need to be in the U.K. to perform the role); Prince Andrew, who has
  been publicly disgraced over his friendship with Jeffrey Epstein and allegations of sexual abuse, or Princess Beatrice, who is
  not considered a "working royal."




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  British legal expert Craig Prescott told Newsweek that "with the accession of King Charles III there is an issue" which an
  amendment to the Regency Act to include more than six royal family members to be called upon as counsellors could solve.

  "It seems more appropriate for Prince Edward and Princess Anne, as two royals who conduct public duties (indeed Princess
  Anne holds investitures) to act as Counsellors of State instead of Princess Beatrice, who doesn't," he said.




  "This is ultimately a decision for Parliament, who would need to pass a new act to make this change."

  Prescott said there is a legal precedent for doing this.

  "The Regency Act [of] 1953, added Queen Elizabeth the Queen Mother as a Counsellor of State for the rest of her life (she
  stopped being a Counsellor of State, as on the death of George VI [as] she was no longer the wife of the monarch)," he said.




  "So a new Act of Parliament legislation could do the same for Princess Anne and Prince Edward. The Act of Parliament could
  also add the Princess of Wales (when William is King, she will become a Counsellor of State anyway), and she could act with
  William."



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     Prince Harry photographed during the state funeral of Queen Elizabeth II, September 19, 2022. The prince could remain an eligible
     Counsellor of State while the pool is opened up to more members of the working royal family, an expert told Newsweek.
     MAX MUMBY/INDIGO/GETTY IMAGES




  But where would this leave Harry? A change such as the one suggested would not remove him from being considered as a
  candidate for counsellor or regent but would widen the pool to other working royals.

  "It's not necessary to remove Prince Harry and Prince Andrew, they could simply not act, as only two are required to act
  together," said Prescott.



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  Given reports of friction between Harry and members of the royal family including his father, the king, and brother, William, it
  is unlikely that a controversial move such as actively removing Harry from being considered for such a role would be
  desirable to the government or the monarch.




  Prominent royal commentator Richard Fitzwilliams told Newsweek that changes to the Regency Act would be supported in
  Britain, as it has been "long overdue."

  "There was a recent danger, after the death of Prince Philip," he explained, "that if the Queen had fallen ill when the Prince of
  Wales had COVID and the Duke of Cambridge was abroad for a day, who then could have been a substitute?"

  "It was intimated in the debate that the beginning of a reign would be a good time to look into such matters. Although the
  Queen Consort is now a Counsellor of State along with the Prince of Wales, it remains a fact that this needs reform,"
  Fitzwilliams said.




  "Any new legislation to change this would have to be made by Parliament, obviously in consultation with the Royal Household.
  They would, in my view, have wide popular support in so doing."

  The subject is not currently scheduled for further parliamentary discussion.

  Newsweek reached out to Buckingham Palace and representatives of Prince Harry for comment.




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  Do you have a question about King Charles III, William and Kate, Meghan and Harry or their family that you would like our
  experienced royal correspondents to answer? Email royals@newsweek.com. We'd love to hear from you.




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  The Debate



  RFK Jr. Is a Lesson for MAGA World: Be Careful What You Wish For

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   Princes Andrew and Harry will keep their last
   royal roles. But there’s a catch
   Analysis by Max Foster, Lauren Said-Moorhouse and Christian Edwards, CNN
   Published 9:26 AM EST, Fri November 18, 2022




   King Charles sidestepped an awkward regency drama between Princes Harry and Andrew.




   A version of this story appeared in the November 18 edition of CNN’s Royal News, a weekly dispatch bringing you the inside track on
   Britain’s royal family Sign up here
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   London (CNN) — When King Charles III celebrated his birthday earlier this week, the headlines focused on the new monarch
   taking on a new park ranger post previously held by his father, Prince Philip.

   Then there were, of course, the military bands performing “Happy Birthday” outside Buckingham Palace at the changing of the
   guard. And many of the family posted celebratory notes and photographs to official social media accounts. All of this will have
   probably helped make the day a memorable one.

   But separately, the King also moved to address a dilemma that has remained unresolved since long before Queen Elizabeth II’s
   death.



   On Monday, Charles asked the UK Parliament to allow his siblings, Princess Anne and Prince Edward, to become Counsellors of
   State. The move would empower them to step in for him temporarily when directed to do so. The King said in a message read
   out in the upper chamber, the House of Lords, that maintaining the smooth running of the government was behind the request.

   “To ensure continued efficiency of public business when I’m unavailable, such as while I’m undertaking official duties overseas,
   I confirm that I would be most content should Parliament see fit for the number of people who may be called upon to act as
   Counsellors of State under the terms of the Regency Acts 1937 to 1953 to be increased to include my sister and brother, the
   Princess Royal and the Earl of Wessex and Forfar, both of whom have previously undertaken this role,” the King wrote.

   The same message was also read out in the lower house, the Commons.




                                                                                                                  HANNAH MCKAY/AFP/POOL/AFP via Getty Images

   Counsellors of State can fulﬁl royal duties in Charles's absense.




   At present, by law, the group of royals who can fill in for the sovereign numbers five – limited to the monarch’s spouse and the
   first four family members in the line of succession over the age of 21. Two counselors can be appointed to act on the monarch’s
   behalf through a letters patent and help keep the state ticking over. Currently, that means the cohort includes Queen Consort
   Camilla as well as the Prince of Wales, Duke of Sussex, Duke of York and Princess Beatrice.

   Experts have long suggested the existing pool of counselors is too small, while public debate on the topic grew toward the
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   latter part of the late Queen’s reign as she became increasingly frail. Charles and William were authorized to act as counselors
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   on occasion when the Queen was unwell. But it was not lost on many that her other two counselors were Princes Harry and
   Andrew, despite no longer being working members of the family – albeit for very different, well-covered reasons.

   Normally, the machinations of royal duties would remain behind palace walls. But the topic re-emerged with Charles’ accession,
   and because any changes to the Regency Act require legislation, the discussion was broached in the House of Lords for the
   first time late last month.

   Labour Peer Viscount Stansgate challenged Andrew and Harry’s regency powers, remarking that the Duke of York “has left
   public life,” while the Duke of Sussex “has left the country.” He queried if it was time “to approach the King to see whether a
   sensible amendment can be made to this Act?” In response, the Lord Privy Seal, Lord True, said he wouldn’t divulge “any
   private conversations” he may have had with the King or the Royal Household but that “the government will always consider
   what arrangements are needed to ensure resilience in our constitutional arrangements.”




   Princess Anne and Prince Edward are set to become Counsellors of State.




   The King’s moves this week confirm that the palace has been thinking about the dilemma and the options available. And
   adding to the group of official stand-ins is not unprecedented, having previously been done for the Queen Mother in 1953 after
   Elizabeth II came to the throne.

   Practically, it seems there is a desire within Parliament to resolve the issue quickly. A day after Charles’ request, members of
   the Lords replied to the monarch, assuring him they would act “without delay” and “will provide such measures as may appear
   necessary or expedient for securing the purpose set out by His Majesty.”

   And the Lords weren’t kidding when they offered expedience, with the Counsellors of State Bill 2022-23 whipping through the
   Palace of Westminster at breakneck speed. It was given its first reading by Tuesday afternoon and is set to have its second
   reading and be debated next week.

   Expanding the group of royals who can deputize for the King in his absence is an elegant solution to a potential constitutional
   crisis. It provides for more flexibility while probably going some way to avoid family awkwardness and shields the two dukes
   from the public embarrassment that might have arisen had they been stripped of their positions. Charles’ approach means both
   are still technically counselors on paper but firmly puts an end to speculation over whether Harry or Andrew will ever be called
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   ROYAL TEA MOMENT




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   Prince William presented England winger Jack Grealish with the iconic number 7 shirt.




   William sends England squad off to World Cup in style.

   The Prince of Wales visited the England soccer squad on Monday at St. George’s Park, the team’s HQ, ahead of their departure
   for the World Cup in Qatar, which kicks off this weekend. Just before the Three Lions swapped the drizzly winter weather for
   the heat of Doha, William was on hand to wish the team well. “I’m really here to point out that the rest of the country is behind
   you,” he told the squad, as he presented each player with their shirt number. “We are all rooting for you, enjoy it.”

   While William serves as president of England’s Football Association, many Welsh fans on social media suggested the visit was
   tactless for the holder of the Prince of Wales title and questioned his loyalties.

   William has never been shy about being a passionate England fan, as we mentioned last week. And he has been a presence in
   the Wembley stands, along with his son, George, cheering the team on at previous tournaments. However, he sought to address
   the criticism mid-week during a trip to the Welsh Parliament in Cardiff. “I’m telling everyone I’m supporting both, definitely. I
   can’t lose,” he said. “I’ve got to be able to play carefully with my affiliations because I worry otherwise if I suddenly drop
   England to support Wales then that doesn’t look right for the sport.”

   William continued that while he was growing up, Wales didn’t qualify for many football tournaments and so he picked England.
   But he’ll be cheering both teams on in their first games on Monday and more broadly, he’s found a way to back both countries
   over the years. “I’ve supported England [football] since I’ve been quite small, but I support Welsh rugby. That’s kind of my way
   of doing it.”

   This year’s tournament is Wales’ first World Cup in more than half a century. The two teams are set to clash in the group stages
   on November 29.

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   WHAT ELSE IS HAPPENING?
   King Charles shares ‘concern’ after Australia floods.

   The King sent a letter to Australian Prime Minister Anthony Albanese late last week to express his concern after flash floods
   devastated parts of Victoria, a state in the southeast of the country. “Our heartfelt thoughts are with all those affected and for
   the losses that have been suffered,” Charles wrote. “It has been particularly inspiring to see how communities have pulled
   together to protect homes and livestock and to support each other during this appallingly difficult period,” he added. The floods
   are the latest threat caused by climate change that Australia has faced in recent years – after battling wildfires for months in
   2020. According to PA Media, Albanese said in September that he would be “very comfortable” with the King expressing his
   views on the “importance of climate change. It is about the very survival of our way of life,” he said.

   Kate visiting Ukrainian refugees who have resettled in the UK.

   The Princess of Wales visited Reading Ukrainian Community Center on Thursday, to meet with displaced Ukrainian families who
   have arrived in the United Kingdom following Russia’s invasion of their home country. After hearing the stories of these families
   – whose lives at the end of the year are unrecognizable from how they were at the beginning – Kate joined Ukrainian children
   taking part in an art session. Kate’s visit followed a virtual roundtable meeting she hosted last week, where she discussed with
   the First Lady of Ukraine how best to provide mental health support to Ukrainians amid the ongoing conflict.




                                                                                                                         Paul Edwards/AFP Pool/Getty Images

   Kate took part in an art class with young Ukrainian refugees.




   Harry pens deeply personal letter to bereaved military children.

   Prince Harry may not have been in the UK for last weekend’s Remembrance Day but he found his own way to mark the
   occasion. The Duke of Sussex wrote a letter to bereaved military children through the British charity Scotty’s Little Soldiers,
   offering his sympathies and sharing how he has navigated his grief. “We share a bond even without ever meeting one another,
   because we share in having lost a parent. I know first-hand the pain and grief that comes with loss and want you to know that
   you are not alone,” he wrote. The charity supports children whose parents have died in service of the British armed forces. On
   Remembrance Sunday dozens of these brave children marched through London wearing the charity’s black and yellow
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   Remembrance Sunday, dozens of these brave children marched through London wearing the charity s black and yellow
   scarves. Harry also wrote knowingly of the “difficult feelings” RELATED
                                                                   acts of remembrance can stir. “Whenever you need a reminder of
   this, I encourage you to lean into your friends at Scotty’s Little Soldiers,” he said. “I couldn’t be more grateful and relieved that
   you have amazing people walking beside you throughout your journey.” Over in the United States, Harry commemorated
   Veterans Day by attending a remembrance service at Pearl Harbor, while on his Archewell foundation’s website, he and wife
   Meghan praised the “brave men and women” who have “made tremendous sacrifices and embody duty and service.” Read
   Harry’s full letter here.



   PHOTO OF THE WEEK




                                                                                                                       Geo Caddick/AFP Pool/Getty Images

   Prince WIlliam visited the Welsh Parliament, called the Senedd, on Wednesday.




   Getting grilled about his footballing allegiances was not William’s principal reason for going to Cardiff. The Prince of Wales
   visited the Senedd Wednesday to meet representatives of the Welsh Parliament and hear about the issues of the greatest
   importance to the Welsh people. William also met the Welsh Youth Parliament, whose members opened up about topics
   concerning their generation of future leaders.



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   King Charles attended the Remembrance Sunday service at The Cenotaph in London.




   Charles III led Britain’s annual Remembrance Sunday service for the first time as monarch last weekend. The King attended the
   service alongside Camilla, the Queen Consort, and other members of the royal family at the Cenotaph monument in central
   London. The new monarch laid a wreath, the design of which paid tribute to the wreaths of his grandfather, King George VI, and
   his mother, the late Queen. Camilla was joined by other senior royals including the Princess of Wales to view the moment from
   the balcony of the Foreign, Commonwealth and Development Office, which looks out onto the war memorial. A wreath was laid
   on the Queen Consort’s behalf for the first time. Find out more in our story.




                                       “Over the past few months, my
                                    husband and I have drawn immense
                                       comfort from the messages of
                                     condolence that we have received,
                                      and continue to receive, from the
                                    four corners of the world. They have
                                     reminded us that the written word
                                     has a unique ability to connect, to
                                     heal, to reassure and to o er hope,
                                         even in the midst of grief.”
                                      The Queen Consort paid tribute to her “dear mother-in-law” during a reception for winners of the Queen’s
                                                                     Commonwealth Essay Competition 2022.




   The speech during the reception at Buckingham Palace on Thursday was the first time Camilla had publicly spoken in her role
   as Queen Consort.



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